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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BIGFOOT 4X4, INC.,

              Plaintiff,

              v.                                    Case No. 22-cv-06410

THE INDIVIDUALS, CORPORATIONS,                      Judge John J. Tharp, Jr.
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND                                   Magistrate Judge Beth W. Jantz
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,
              Defendants.


                                    JUDGMENT ORDER

       This action having been decided by Judge John J. Tharp, Jr. on the Court’s sua sponte

dismissal for failure to prosecute, it is hereby ORDERED:

       Judgment is entered in favor of the defendants listed on the attached Schedule A and against

plaintiff Bigfoot 4x4, Inc. Defendants may recover costs.




 Date: September 6, 2023
                                                            John J. Tharp, Jr.
                                                            United States District Judge
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                               Schedule A
            No.    Defendant Name / Alias
             1     frees_mart
             2     lakshan2002-6
             3     manoridhiranas0
             4     nikav_30
             5     senkave97
             8     ariqiyan32447
             9     davidShopTaco
            10     E77BD6E1
            11     huanglaobandedian
            12     Kanhsyud
            13     KashinKoji
            14     nijuan0735
            15     Spherecords
            16     tanjun321
            17     Villen
            18     wangzhuren
            19     wuxingchi15114
            20     wuyanping123
            21     YettaAdelawNcAqS
            22     zhaohequn3578
            26     LUOYIMAN
            28     QBSM
            29     tiantian01
            31     adjioq
            32     best.toy98_store
            33     diya_store
            34     dms_zone
            36     gamgayana0
            37     happyshopping0
            38     hoverkaru_store
            39     inokawkum-0
            40     janitsandaruwa-5
            41     jinjinbin
            42     martable
            43     mfp48673051
            44     murshidstore
            45     snow_zone93
            46     sri_traditions_online
            56     fabiolam
            57     fsaa
            58     George Nelson

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             59    huangjin fashion
             60    Jiangyu00586
             61    Landwins
             62    liagen..
             63    liuxishan22806
             64    Love's little cool
             65    MARK TETZLAFF
             66    NavitTa
             67    ouguorongshop
             68    Out Of Background
             69    Photo Doctor
             70    qiuhvm online store
             71    shenzhenshifeifeiyingshiyouxiangongsi
             72    sksdjfsdhj
             73    Tshuipip
             74    UltraCorez
             75    wanglinxiao55208
             76    Westwood Chateau
             77    yanwenxue48580
             78    yiwubozhicoltd
             79    Yixin beauty shop
             80    zhangjiabao93813
             83    chengdoupingcuiliumaoyiyouxiangongsi
             87    eComPower
             90    HLL-SHOPS
            100    lovexindong-US
            103    MQFeng
            121    shuangmak575
            127    Sycamore Garden Shopping Store
            129    Tanxyz-US
            151    zhongshanshichenghongshidaikejiyouxiangongsi
            152    ኳ亦DerDerBe
            153    ᬋ᭝ⓗᑠ擡
            154    BBTS NO1
            155    bring you a good mood
            156    huo huo baby
            157    Hywiwine Technology
            158    Mandemu
            159    MISE Health
            160    RC BAG
            161    VIP 888
            162    Weichen boutique fashion
            163    Your Time Zones

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